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 1                              UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3
     ERNEST JORD GUARDADO,                           )
 4                                                   )
 5
                          Plaintiff,                 )        Case No.: 2:18-cv-00198-GMN-VCF
           vs.                                       )
 6                                                   )                    ORDER
     STATE OF NEVADA, et al.,                        )
 7                                                   )
                          Defendants.                )
 8
                                                     )
 9

10          Pending before the Court are pro se Plaintiff Ernest Guardado’s (“Plaintiff”) Motion for
11   Extension of Time to File Motion for Reconsideration, (ECF No. 144), and Motion for
12   Appointment of Attorney, (ECF No. 145), to assist in preparing a motion for reconsideration.
13   On October 20, 2020, Plaintiff filed his Motion for Reconsideration, (ECF No. 146), thereby
14   eliminating the need for the relief requested in Plaintiff’s Motions, (ECF Nos. 144, 145).
15          Accordingly, IT IS HEREBY ORDERED that Plaintiff’s Motion for Extension of
16   Time, (ECF No. 144), and Motion for Appointment of Attorney, (ECF No. 145), are DENIED
17   as moot.
18                      20 day of October, 2020.
            DATED this ____
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20                                                ___________________________________
21
                                                  Gloria M. Navarro, District Judge
                                                  United States District Court
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